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     Attorneys for Plaintiff
 6   United States of America
 7                              IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                            CASE NO. Cr. 10-00162 JAM
11                                Plaintiff,              STIPULATION REGARDING
                                                          EXCLUDABLE TIME PERIODS
12   v.                                                   UNDER SPEEDY TRIAL ACT;
                                                          FINDINGS AND ORDER
13   JAIRO ZAPIEN,
14                                Defendant,
15

16                                             STIPULATION
17          Plaintiff United States of America, by and through its counsel of record, and defendant, by

18 and through his counsel of record, hereby stipulate as follows:

19          1.     By previous order, this matter was set for a further status conference on June 25,

20 2013.

21          2.     By this stipulation, the parties move to continue the status conference one week, until

22 July 2, 2013 at 9:45 a.m., and to exclude time between June 25, 2013, and July 2, 2013, under Local

23 Code T4.

24          3.     The parties agree and stipulate, and request that the Court find the following:

25          a.     The parties have been involved in plea negotiations, and the Government anticipates

26                 extending a formal written plea offer to the defendant by June 21, 2013. Once the

27                 offer is received, defense counsel will need additional time to reevaluate the

28                 discovery previously provided by the Government, review the formal plea agreement
                                                      1
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 1                 with the defendant, and make recommendations to the defendant regarding

 2                 acceptance or rejection of the offer. If the defendant decides to enter into the plea

 3                 agreement, defense counsel will need additional time to prepare the defendant for a

 4                 change of plea hearing.

 5          b.     Counsel for defendant believes that failure to grant the above-requested continuance

 6                 would deny him the reasonable time necessary to review the Government’s formal

 7                 plea offer with the defendant, and to effectively prepare for a possible change of plea,

 8                 taking into account the exercise of due diligence.

 9          c.     Both parties join in the request for the continuance.

10          d.     Based on the above-stated findings, the ends of justice served by continuing the case

11                 as requested outweigh the interest of the public and the defendant in a trial within the

12                 original date prescribed by the Speedy Trial Act.

13          e.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

14                 seq., within which trial must commence, the time period of June 25, 2013, to July 2,

15                 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), (B)(iv)

16                 [Local Code T4] because it results from a continuance granted by the Court on the

17                 basis of the Court's finding that the ends of justice served by taking such action

18                 outweigh the best interest of the public and the defendant in a speedy trial.

19          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of

20 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

21 a trial must commence.

22 IT IS SO STIPULATED.

23 DATED:          June 20, 2013

24                                        /s/ Michael D. McCoy
                                          MICHAEL D. McCOY
25                                        Assistant United States Attorney
26 DATED:          June 20, 2013
                                          /s/ Douglass J. Beevers
27
                                          DOUGLASS J. BEEVERS
28                                        Counsel for Defendant JAIRO ZAPIEN
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                              Per e-mail authorization
 1

 2
                                     ORDER
 3

 4   IT IS SO FOUND AND ORDERED this 20th day of June, 2013.
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 6                            /s/ John A. Mendez________________________
                              JOHN A. MENDEZ
 7                            UNITED STATES DISTRICT COURT JUDGE

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